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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSE CRUZ,                                        )
                                                  )      Case No. 23-cv-4268
             Plaintiff,                           )
                                                  )      Honorable Judge Daniel
      v.                                          )      Magistrate Judge Fuentes
                                                  )
FORMER DETECTIVE REYNALDO                         )
GUEVARA, et al,                                   )      JURY DEMAND
                                                  )
      Defendants.                                 )

          OFFICER DEFENDANTS REPLY IN SUPPORT OF DEFENDANTS’
        MOTION TO COMPEL COOK COUNTY STATE’S ATTORNEY’S OFFICE

                                      EXHIBIT LIST

Exhibit A            Motion for Release of Grand Jury Materials, People v. Jose Cruz

Exhibit B            Motion for Release of Grand Jury Materials, CCSAO Response, and Order
                     granting motion, People v. Juan and Rosendo Hernandez

Exhibit C            Email Correspondence
